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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF                                               CIVIL ACTION
 PENNSYLVANIA AND STATE OF NEW
 JERSEY,

                         Plaintiffs,
                                                               NO. 17-4540
                 v.

 DONALD J. TRUMP, ALEX M. AZAR II,
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,
 STEVEN T. MNUCHIN, UNITED
 STATES DEPARTMENT OF THE
 TREASURY, RENE ALEXANDER
 ACOSTA, THE UNITED STATES
 DEPARTMENT OF LABOR, AND THE
 UNITED STATES OF AMERICA,

                         Defendants,

 LITTLE SISTERS OF THE POOR
 SAINTS PETER AND PAUL HOME,

                         Defendant-Intervenor.



                                       SCHEDULING ORDER

       AND NOW, this 4th day of April, 2019, following a Preliminary Pretrial Conference, IT

IS ORDERED as follows:

       1.       By May 1, 2019, Plaintiffs shall file either a motion to permit discovery, or a

notification that no discovery is needed.

       2.       If the Court grants Plaintiffs’ motion to permit discovery, the parties shall have

ninety (90) days to engage in discovery, to commence from the date of the Court’s order granting

discovery.
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          3.       If no discovery is needed, then the parties shall follow the following schedule for

summary judgment:

                   a. Plaintiffs shall file their motion for summary judgement on or before May 15,

                      2019.

                   b. Defendant and Defendant-Intervenor shall file their responses and cross-

                      motions for summary judgment on or before June 14, 2019.

                   c. Plaintiffs shall file their reply and response to Defendant and Defendant-

                      Intervenor’s cross-motions on or before June 28, 2019.

                   d. Defendants shall file their replies on or before July12, 2019.

          4.       The parties’ opening briefs on summary judgment motions may not exceed fifty

(50) pages.

          5.       The parties shall submit courtesy copies of all briefing and exhibits in digital

format.

          6.       In all summary judgment filings, the parties shall comply with the provisions of

this Court’s Policies and Procedures regarding the submission of a joint appendix and of

statements of undisputed and disputed material facts.

                     A.       When one party intends to move for summary judgment, that party
                              shall initiate a process whereby the parties shall meet, confer and
                              develop a single, joint appendix of all exhibits, including any and all
                              exhibits that may be referenced in their respective briefs.
                     B.       The joint appendix shall be filed by the movant no later than the date
                              the initial motion for summary judgment is docketed. All pages of
                              the joint appendix shall be consecutively “Bates stamped” and
                              referenced in the motions and briefs by the Bates number assigned
                              each page. The joint appendix shall include a table of contents. The
                              parties shall make every effort to include all necessary exhibits in the
                              initial joint appendix. Should it become necessary for the non-moving
                              party to submit additional exhibits, however, it may do so at the time
                              it files its opposition brief. Any addendum to the joint appendix shall
                              be consecutively Bates stamped, beginning at the page number where

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                         the joint appendix left off, and shall include a table of contents. Judge
                         Beetlestone will not consider material not included in the appendix.
                 C.      Statements of Facts
                         1.        Upon motion for summary judgment, counsel shall also
                                   submit a separate Statement of Undisputed Material Facts
                                   containing a numbered, paragraph-by-paragraph recitation
                                   of facts with specific citations to the joint appendix in
                                   support of all of those facts as to which the moving party
                                   contends no genuine issue exists.
                         2.        Counsel opposing a motion for summary judgment shall
                                   also submit a separate Statement of Disputed Material Facts,
                                   stating in similar paragraph form whether that party accepts
                                   or rejects that each fact as stated by the moving party is
                                   undisputed. If a party contends that a fact is in dispute,
                                   citation must be made to the joint appendix that supports the
                                   party’s view that that particular fact is in dispute. The party
                                   should then list its own additional disputed facts in the same
                                   format with specific citations to the joint appendix.
                         3.        Counsel for the moving party shall then submit—even if not
                                   filing a reply brief—a separate Reply Statement of
                                   Undisputed Material Facts stating in similar paragraph form
                                   whether that party accepts or rejects that each additional fact
                                   as stated by the opposing party is disputed. If a party
                                   contends that a fact is undisputed, citation must be made to
                                   the joint appendix that supports that party’s view that the
                                   particular fact is undisputed.

       7.       For all filings submitted and conferences held pursuant to this scheduling order,

and for all pretrial and trial proceedings referred to herein, counsel shall follow Judge

Beetlestone’s Policies and Procedures, a copy of which can be found online at

www.paed.uscourts.gov.



                                                      BY THE COURT:




                                                      /s/ Wendy Beetlestone


                                                      WENDY BEETLESTONE, J.

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